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____________________________________________________________________________
                                                SO ORDERED,




                                                Judge Jason D. Woodard
                                                United States Bankruptcy Judge


       The Order of the Court is set forth below. The case docket reflects the date entered.
____________________________________________________________________________



              IN THE UNITED STATES BANKRUPTCY COURT FOR
                  THE NORTHERN DISTRICT OF MISSISSIPPI

IN THE MATTER OF:                                                 CHAPTER 13 CASE NO.:

HUBERT SHANE GOODE                                                19-13444-JDW

            ORDER WITHDRAWING MOTION TO DISMISS (DKT. #30)

       THIS MATTER came before the Court on the Motion to Dismiss (Dkt. #30) (the

“Motion”) filed by Locke D. Barkley, Chapter 13 Trustee (“the Trustee”) and the

response thereto filed by the Debtor (Dkt. #31); and the Court being advised that the

Trustee requests to withdraw the Motion as all issues presented in the Motion have

been resolved. Upon request by the Trustee,

       IT IS ORDERED that the Motion shall be and is hereby withdrawn.

                                  ##END OF ORDER##
SUBMITTED BY:

/s/ W. Jeffrey Collier
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